    Case 1:23-cv-11195-SHS-OTW                    Document 323            Filed 11/19/24         Page 1 of 3



Susman Godfrey L.L.P.

November 18, 2024
Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York

                 Re:      The New York Times Company v. Microsoft Corporation, et al.,
                          Case No.: 23-cv-11195-SHS-OTW

Dear Magistrate Judge Wang:

       Plaintiff The New York Times Company (“The Times”) seeks an order compelling OpenAI
to produce documents in response to the following Requests for Production:1
       RFP 2: This Request seeks documents Defendants “have gathered to submit or have
submitted to any legislative or executive agency, committee, or other governmental entity in the
United States that concern or relate to the allegations in the Complaint.”
        For the purposes of this motion, The Times specifically seeks an order that (i) OpenAI
identify any relevant proceedings in which it has produced documents related to the issues in this
case, which will facilitate additional negotiations about the appropriate scope of OpenAI’s
response to this RFP; and (ii) OpenAI produce Interrogatory responses 2, 3, 5, 6, 7, and 10 that it
submitted to the FTC for Civil Investigative Demand No. 232-3044. See Ex. 2 (copy of FTC
Interrogatories). These responses will yield information relevant to this case regarding the
relationship between the various OpenAI entities (FTC Rog 2), OpenAI’s employees (FTC Rog
3), OpenAI’s revenues (FTC Rog 5 and Rog 6), OpenAI’s licensing agreements (FTC Rog 7), and
information about third-party use of OpenAI’s large language models (FTC Rog 10).2 See Ex. 2 at
3-4. There is no burden to OpenAI producing these materials, and it should do so. See, e.g.,
Waldman v. Wachovia Corp., 2009 WL 86763, at *1-2 (S.D.N.Y. Jan. 12, 2009) (ordering
production of materials provided to regulators because the “burden is slight when a defendant has
already found, reviewed and organized the documents”). OpenAI argues that some of the
information in these responses may be duplicative to information being sought in other discovery
requests, but The Times cannot evaluate that assertion without first reviewing the Interrogatory
responses. The parties can later evaluate whether these documents moot or narrow any outstanding
discovery issues.
       RFP 17: This Request seeks documents “concerning the compilation, acquisition, and
curation of Training Datasets,” including “communications concerning the relevance and impact

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  The parties met and conferred by videoconference on November 14 and November 18. A November 8, 2024 letter
detailing The Times’s positions on these RFPs is attached as Exhibit 1. Copies of email correspondence between the
parties is attached as Exhibit 5. The Times’s First Set of RFPs (Requests 1-15), and OpenAI’s Responses, have been
filed on the Docket at Dkts. 128-1 and 128-2. The Times’s Second Set of RFPs (Requests 16-72), and OpenAI’s
Responses, have been filed on the Docket at Dkts. 283-1 and 283-3. The Times’s Third Set of RFPs (Requests 73-95),
and OpenAI’s Responses, have been filed on the Docket at Dkts. 283-2 and 283-4.
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  To resolve a dispute in the Authors Guild case, OpenAI produced responses to some of these Interrogatories, but not
the ones requested in this motion. See Authors Guild, Case 23-cv-8292, Dkt. 106.
   Case 1:23-cv-11195-SHS-OTW              Document 323         Filed 11/19/24      Page 2 of 3




of paywalls on building Training Datasets or gathering training data.” There is one remaining and
narrow dispute: whether OpenAI will produce documents concerning the “impact” of paywalls on
training data, which is broader than OpenAI’s proposal to limit productions to documents
concerning OpenAI’s “approach to” paywalls. The broader language is important to ensure that
OpenAI does not withhold documents addressing how paywalls impact its compilation of training
data on the alleged ground that the document does not address OpenAI’s specific “approach” to
paywalls. If OpenAI confirms that its proposal will not exclude documents concerning the
“impact” of paywalls, then there is no dispute, but OpenAI has not yet done so.
        RFP 24: This request seeks documents “concerning any analyses, studies, measurements,
testing, experimentation, assessments, or other evaluation of the incremental value of including
Journalism content, including Times Content, in Defendants’ Training Datasets.” The use of
journalism content to train Defendants’ generative AI models is a central issue in this litigation
case, and documents reflecting the value of news content are relevant to both fair use and damages.
         OpenAI has agreed to produce documents discussing OpenAI’s evaluation or assessment
of the value of including Journalism content in the text training datasets used to train the relevant
models but refuses to produce documents concerning evaluations or assessments prepared by
entities other than OpenAI, including any evaluations or assessments prepared by Microsoft or by
academic researchers. This is improper. Any such documents in OpenAI’s possession, custody, or
control concerning the value of journalism for generative AI training datasets are relevant to this
litigation and should be easy to produce through the normal discovery process.
       RFP 49: This request seeks documents “concerning Defendants’ monitoring, tracking, and
knowledge of investigations into whether Defendants’ AI Models contain copyrighted content,
including Times Content.” Defendants’ knowledge of investigations into whether their models
contain copyrighted publisher content is relevant to willfulness.
        OpenAI has agreed to produce documents concerning whether the relevant models were
trained using articles published by The Times, Daily News Plaintiffs, and the Center for
Investigative Reporting, but objects that it does not understand what The Times means by
“copyrighted publisher content.” While The Times maintains that this phrasing is clear on its face,
The Times has offered to use the defined term “Journalism” content to clarify its request. The
Times defines “Journalism” as “the activity of writing or creating content for newspapers,
magazines, news websites, mobile applications, television, podcasts, or any other publication
and/or news outlet, and includes the work of The Times as alleged in the Complaint.” Dkt. 283-2
at 3. OpenAI has not yet responded to The Times’s offer, as of this filing. The Times appropriately
seeks documents broader than those that expressly mention the three plaintiffs in this case.
Otherwise, for example, OpenAI could withhold a document concerning an employee’s knowledge
of their improper reliance on copyrighted Journalism content on the ground that the document did
not specifically address one of the three plaintiffs in this case.
       RFP 86–87: RFP 86 seeks documents concerning Defendants’ use of generative AI models
to create synthetic datasets, and RFP 87 seeks documents concerning Defendants’ use or
contemplated use of synthetic datasets, including to train their generative AI models. “Synthetic”
data refers to “artificial, algorithmically-manufactured data, including data generated using a
generative AI model.” Dkt. 283-2 at 4. Defendants’ use of synthetic datasets created by the outputs
of generative AI models that are trained or fine-tuned on Times Content are relevant to The Time’s
copyright infringement claims—any synthetic datasets created by OpenAI using Times content
Case 1:23-cv-11195-SHS-OTW   Document 323   Filed 11/19/24   Page 3 of 3
